
740 So.2d 617 (1999)
Terry A. RIVERA, Sr.
v.
STATE of Louisiana, Richard Stalder, Secretary of Dept. of Public Safety &amp; Corrections, and Warden C.M. Lensing, Warden of Elayn Hunt Correctional Center.
Joseph Romero
v.
La. Dept., Public Safety &amp; Corrections, Richard L. Stalder, Terry Terrell, P. Pitre, Major Evans, and Capt. Maricle.
No. 99-C-0289.
Supreme Court of Louisiana.
March 26, 1999.
Denied.
MARCUS, J. would grant the writ.
VICTORY, J. not on panel.
